                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

             Jody Rose,                )             JUDGMENT IN CASE
                                       )
             Plaintiff(s),             )           3:19-cv-00695-GCM-DCK
                                       )
                 vs.                   )
                                       )
  PSA Airlines, Inc. Group Insurance   )
             Plan et al.,
            Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered.

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s September 22, 2021 Order.

                                               September 22, 2021




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